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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
v.                                          )                     CRIMINAL ACTION
                                            )
JOSE LOPEZ,                                 )                     No. 07-20122-02-KHV
                                            )
                         Defendant.         )
____________________________________________)

                                             ORDER

       On December 16, 2009, the Court sentenced defendant. That same day, defendant filed a

notice of appeal. See Doc. #163. This matter is before the Court on defense counsel’s Motion To

Withdraw (Doc. #159) filed December 15, 2009. Tenth Circuit Rule 46.3(a) provides that “[t]rial

counsel must continue to represent the defendant until either the time for appeal has elapsed and no

appeal has been taken or this court has relieved counsel of that duty.” Rule 46.3(a) also notes that

an attorney who files a notice of appeal in a criminal case has entered an appearance and may not

withdraw without the permission of the Tenth Circuit. Under the rule, the district court has no

authority to relieve counsel of his duty and/or appoint new counsel.

       IT IS THEREFORE ORDERED that defense counsel’s Motion To Withdraw (Doc. #159)

filed December 15, 2009 be and hereby is OVERRULED.

       Dated this 30th day of December, 2009, at Kansas City, Kansas.


                                              s/ Kathryn H. Vratil
                                              KATHRYN H. VRATIL
                                              United States District Judge
